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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SIMO HOLDINGS INC.

                        Plaintiff,
                                                      CIVIL ACTION NO. 18CV5427 (JSR)
        -v-

 HONG KONG UCLOUDLINK NETWORK
 TECHNOLOGY LIMITED, AND
 UCLOUDLINK (AMERICA), LTD.

                        Defendants.

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        DECLARATION OF MATTHEW J. WELDON IN SUPPORT OF
  PLAINTIFF SIMO HOLDINGS INC.’S OPPOSITION TO DEFENDANTS HONG
 KONG UCLOUDLINK NETWORK TECHNOLOGY LIMITED AND UCLOUDLINK
       (AMERICA), LTD.’S MOTION FOR SUMMARY JUDGMENT OF
           NON-INFRINGEMENT AND NO PRE-SUIT DAMAGES


       I, MATTHEW J WELDON, declare that the following is true and correct:

       1.       I am a partner at K&L Gates, LLP, counsel to Plaintiff SIMO Holdings Inc.

(“SIMO”) in this action. I am admitted to practice in this Court, and I am familiar with the facts

and circumstances set out herein. I submit this Declaration in support of SIMO’s Opposition to

Defendants’ Motion for Summary Judgment of Non-Infringement and No Pre-Suit Damages.

       2.       Annexed hereto as Exhibit 1 is a true and correct copy of excerpts from Martin J.

Feuerstein’s deposition transcript on February 25, 2019.

       3.       Annexed hereto as Exhibit 2 is a true and correct copy of the Declaration of Dr.

Paul C. Clark in Support of SIMO’s Response in Opposition to Defendants’ Motion for

Summary Judgment of Non-Infringement and No Pre-Suit Damages.


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       4.        Annexed hereto as Exhibit 3 is a true and correct copy of excerpts from the Initial

Expert Report of Dr. Paul C. Clark.

       5.        Annexed     hereto   as   Exhibit     4   is   a   true   and   correct   copy   of

UCLOUDLINK0385307-UCLOUDLINK0385396 (ISO/IEC 7816-4 (2005)).

       6.        Annexed hereto as Exhibit 5 is a true and correct copy of excerpts from Paul

Clark’s deposition transcript on February 15, 2019.

       7.        Annexed hereto as Exhibit 6 is a true and correct copy of excerpts from Xiaolei

Qin’s deposition transcript on November 5, 2018.

       8.        Exhibit 7 is omitted intentionally.

       9.        Annexed hereto as Exhibit 8 is a true and correct copy of excerpts from Martin J.

Feuerstein’s Invalidity Expert Report.

       10.       Annexed hereto as Exhibit 9 is a true and correct copy of excerpts from Martin J.

Feuerstein’s deposition transcript on February 26, 2019.

       11.       Annexed hereto as Exhibit 10 is a true and correct copy of Plaintiff SIMO

Holdings Inc.’s Disclosure of Asserted Claims and Infringement Contentions Pursuant to Local

Patent Rule 6.

       12.       Annexed hereto as Exhibit 11 is a true and correct copy of excerpts from

Rongrong Zeng’s deposition transcript on November 8, 2018.

       13.       Annexed hereto as Exhibit 12 is a true and correct copy of United States Patent

No. 8,116,735.

       14.       Annexed hereto as Exhibit 13 is a true and correct copy of the Terminal

Disclaimer to Obviate A Double Patenting Rejection Over A “Prior” Patent filed by SIMO

Holdings, Inc. at the USPTO on February 13, 2012.



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       15.     Annexed hereto as Exhibit 14 is a true and correct copy of excerpts from Hua

Wei’s deposition transcript on November 6, 2018.

       16.     Annexed hereto as Exhibit 15 is a true and correct copy of excerpts from John L.

Hansen’s deposition transcript on February 13, 2019.

       17.     Annexed hereto as Exhibit 16 is a true and correct copy of excerpts from

Rongrong Zeng’s deposition transcript on November 9, 2018.

       18.     Annexed      hereto   as     Exhibit   17   is   a   true   and   correct   copy   of

UCLOUDLINK0010784-UCLOUDLINK0010862 (uCloudlink’s technical document discussing

Skyroam’s confidential technology) and a certified translation thereof.

       19.     Annexed      hereto   as     Exhibit   18   is   a   true   and   correct   copy   of

UCLOUDLINK0010899-UCLOUDLINK0010914 (uCloudlink’s technical document discussing

Skyroam’s confidential technology) and a certified translation thereof.

       20.     Annexed      hereto   as     Exhibit   19   is   a   true   and   correct   copy   of

UCLOUDLINK0217231-UCLOUDLINK0217238 (patent technical disclosure drafted by Wang

Bin) and a certified translation thereof.

       21.     Annexed      hereto   as     Exhibit   20   is   a   true   and   correct   copy   of

UCLOUDLINK0217228-UCLOUDLINK0217230 (internal uCloudlink email) and a certified

translation thereof.

       22.     Annexed hereto as Exhibit 21 is a true and correct copy of the email sent from Mr.

Samuel Steinbock-Pratt to the parties on March 1, 2019.




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       I declare under penalty of perjury under the laws of the United States of America (28

U.S.C. § 1746) that the foregoing is true and correct.



Dated: New York, New York
       March 19, 2019



                                                       /s/ Matthew J. Weldon
                                                     MATTHEW WELDON, ESQ.




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